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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  McALLEN DIVISION

UNITED STATES OF AMERICA                         '
                                                 '
v.                                               '   Criminal No. M-19-405
                                                 '
DANIEL PUSTKA                                    '


       NOTICE OF SUBSTITUTION OF COUNSEL FOR THE UNITED STATES

       The United States hereby gives notice to the Court and the defendant, DANIEL PUSTKA

that counsel for the United States to this case has changed. New counsel for the United States

who is responsible for the litigation of this case is Robert L. Guerra, Jr., Assistant United States

Attorney.

       Please send all correspondence, notices, orders, and other communications to Assistant

United States Attorney Robert L. Guerra, Jr..

                                                     Respectfully submitted,

                                                     RYAN K. PATRICK
                                                     UNITED STATES ATTORNEY


                                                     /s/ Robert L. Guerra, Jr.
                                                     ROBERT L. GUERRA, JR.
                                                     Assistant United States Attorney
                                                     United States Attorney=s Office
                                                     Bentsen Tower
                                                     1701 West Highway 83, Suite 600
                                                     McAllen, Texas 78501
                                                     (956) 618-8010
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on the 21st day of September, 2020, a true and correct copy

of the foregoing Notice of Substitution of Counsel for the United States was e-mailed to the

attorney of record via ECF filing.

                                                   /s/ Robert L. Guerra, Jr.
                                                   ROBERT L. GUERRA, JR.
                                                   Assistant United States Attorney
